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11 Attorneys for Plaintiff,
   Samantha McCool
12
13
                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                                EASTERN DIVISION
16
17 Samantha McCool,                              Case No.:
18
                   Plaintiff,                    COMPLAINT FOR DAMAGES
19
20         vs.                                   FOR VIOLATIONS OF:
                                                  1. THE FAIR DEBT COLLECTION
21
     Thunderbird Collection Specialists, Inc.,    PRACTICES ACT; AND
22                                                2. THE ROSENTHAL FAIR DEBT
                        Defendant.                COLLECTION PRACTICES ACT
23
24                                               JURY TRIAL DEMANDED
25
26
27
28
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 1         Plaintiff, Samantha McCool (hereafter “Plaintiff”), by undersigned counsel,
 2
     brings the following complaint against Thunderbird Collection Specialists, Inc.
 3
 4 (hereafter “Defendant”) and alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and violations of the
 9 Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.
10
   (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Twentynine Palms, California,
21
     and is a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a

24 “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in Scottsdale, Arizona, and is a
26
27 “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


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                                                              COMPLAINT FOR DAMAGES
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 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                     ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           9.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
13
14 be owed to a creditor other than Defendant.
15
           10.    Plaintiff’s alleged obligation arises from a transaction in which property,
16
17 services or money was acquired on credit primarily for personal, family or household
18 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
19
     defined by Cal. Civ. Code § 1788.2(f).
20
21         11.    At all times mentioned herein where Defendant communicated with any
22 person via telephone, such communication was done via Defendant’s agent,
23
   representative or employee.
24
25         12.    In October of 2017, Defendant began calling Plaintiff in an attempt to
26
     collect a debt.
27
28


                                                 3
                                                              COMPLAINT FOR DAMAGES
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 1         13.    Defendant placed calls to Plaintiff’s cellular telephone and to Plaintiff’s
 2
     place of employment.
 3
 4         14.    On or about October 4, 2017, during a live conversation, Plaintiff advised
 5 Defendant that she could not receive personal calls at work and requested that
 6
   Defendant cease calling her place of employment.
 7
 8         15.    Ignoring Plaintiff’s request, Defendant continued to call Plaintiff’s place
 9
     of employment.
10
11         16.    On one occasion, during a live conversation, Defendant yelled at

12 Plaintiff, repeatedly interrupted her, admitted to using intimidation tactics to collect
13
     the alleged debt, threatened to report Plaintiff’s alleged debt to the credit reporting
14
15 bureaus, and stated, “You’ve got one more chance to talk about repayment of the debt
16 or I’m going to end the conversation.”
17
         17. On another occasion, Defendant spoke with Plaintiff’s co-worker and
18
19 disclosed that it was calling to collect a debt from Plaintiff.
20
           18.    On another occasion, Defendant called Plaintiff’s place of employment
21
     posing as Plaintiff’s husband in an attempt to get Plaintiff on the line.
22
23         19.    Defendant’s actions caused Plaintiff to suffer a significant amount of
24
     stress, anxiety, frustration and embarrassment.
25
26
27
28


                                                  4
                                                               COMPLAINT FOR DAMAGES
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 1                                          COUNT I
 2
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
 3                         U.S.C. § 1692, et seq.
 4
           20.    Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7         21.    The FDCPA was passed in order to protect consumers from the use of
 8
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
 9
10 practices.
11         22.    Defendant attempted to collect a debt from Plaintiff and engaged in
12
     “communications” as defined by 15 U.S.C. § 1692a(2).
13
14         23.    Defendant communicated with a person other than Plaintiff and stated
15
     that Plaintiff owes a debt, in violation of 15 U.S.C. § 1692b(2).
16
17         24.    Defendant communicated with Plaintiff at a time or place known to be

18 inconvenient to the Plaintiff, in violation of 15 U.S.C. § 1692c(a)(1).
19
           25.    Defendant communicated with Plaintiff at her place of employment
20
21 knowing that the employer prohibits Plaintiff from receiving such communication, in
22 violation of 15 U.S.C. § 1692c(a)(3).
23
          26. Defendant communicated with a person other than Plaintiff, Plaintiff’s
24
25 attorney, or a consumer-reporting agency regarding Plaintiff’s alleged debt, in
26
     violation of 15 U.S.C. § 1692c(b).
27
28


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                                                             COMPLAINT FOR DAMAGES
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 1         27.     Defendant engaged in conduct, the natural consequence of which was to
 2
     harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
 3
 4 violation of 15 U.S.C. § 1692d.
 5         28.     Defendant used false, deceptive, or misleading representations or means
 6
     in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.
 7
 8         29.     Defendant used false representations or deceptive means to collect or
 9
     attempt to collect a debt or obtain information concerning the Plaintiff, in violation of
10
11 15 U.S.C.§ 1692e(10).
12         30.     Defendant used unfair and unconscionable means to collect a debt, in
13
     violation of 15 U.S.C. § 1692f.
14
15         31.     The foregoing acts and/or omissions of Defendant constitute numerous
16 and multiple violations of the FDCPA, including every one of the above-cited
17
   provisions.
18
19         32.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
20
     violations.
21
22                                          COUNT II
23
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
24                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
25
           33.     Plaintiff incorporates by reference all of the above paragraphs of this
26
27 complaint as though fully stated herein.
28


                                                 6
                                                              COMPLAINT FOR DAMAGES
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 1         34.    The Rosenthal Act was passed to prohibit debt collectors from engaging
 2
     in unfair and deceptive acts and practices in the collection of consumer debts.
 3
 4         35.    Defendant communicated with Plaintiff’s employer over the telephone
 5 for a purpose other than to verify Plaintiff’s employment without first sending a
 6
   written communication, in violation of Cal. Civ. Code § 1788.12(a).
 7
 8         36.    Defendant falsely represented that the alleged debt had been or was about
 9
     to be referred to a consumer-reporting agency, in violation of Cal. Civ. Code §
10
11 1788.13(f).
12         37.    Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
13
     seq., in violation of Cal. Civ. Code § 1788.17.
14
15         38.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
16 violations.
17
18                                 PRAYER FOR RELIEF
19         WHEREFORE, Plaintiff prays for judgment against Defendant for:
20
                  A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
21
22                B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
23
                  C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
24
25                D. Statutory damages of $1,000.00 for knowingly and willfully committing

26                   violations pursuant to Cal. Civ. Code § 1788.30(b);
27
28


                                                7
                                                             COMPLAINT FOR DAMAGES
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 1               E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
 2
                    § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
 3
 4               F. Punitive damages; and
 5               G. Such other and further relief as may be just and proper.
 6
 7                  TRIAL BY JURY DEMANDED ON ALL COUNTS
 8
 9
10 DATED: April 2, 2018                         TRINETTE G. KENT
11
                                               By: /s/ Trinette G. Kent
12                                             Trinette G. Kent, Esq.
13                                             Lemberg Law, LLC
                                               Attorney for Plaintiff, Samantha McCool
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                                                            COMPLAINT FOR DAMAGES
